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(702) 384-7000

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Attorneys for Defendant,

AUTOZONE, INC.

UNITED STATES DISTRICT COURT

DISTRICT OF NEVADA
TYLER UNDERWOOD, Civil Action No: 2:21-cv-01766-GMN-
NJK
Plaintiff,

vs.
O’REILLY AUTO PARTS, INC., et al.,

Defendants.

DEFENDANT AUTOZONE, INC.’S ANSWER TO PLAINTIFF’S COMPLAINT
COMES NOW Defendant, AUTOZONE, INC. (improperly identified as AUTOZONE
STORES, LLC. f/k/a AutoZone Stores, Inc.)(hereinafter “Defendant”), by and through its counsel,
the law firm of Alverson Taylor & Sanders, and hereby Answer Plaintiffs Complaint as follows:

I.
JURISDICTIONAL ALLEGATIONS

1. Answering Paragraph 1 of Plaintiff's Complaint, Defendant is without sufficient
knowledge or information necessary to form a belief as to the truth or falsity of the allegations
contained in said Paragraph and therefore denies the same.

2. Answering Paragraph 2.a. through 2.q. of Plaintiff's Complaint, Defendant

AUTOZONE, INC. admits that it is a Nevada Corporation; Defendant is without sufficient

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knowledge or information necessary to form a belief as to the truth or falsity of the remaining
allegations contained in said Paragraph and therefore denies the same.

3. Answering Paragraph 3 of Plaintiff's Complaint, Defendant is without sufficient
knowledge or information necessary to form a belief as to the truth or falsity of the allegations
contained in said Paragraph and therefore denies the same.

4, Answering Paragraph 4 of Plaintiff's Complaint, Defendant is without sufficient
knowledge or information necessary to form a belief as to the truth or falsity of the allegations
contained in said Paragraph and therefore denies the same.

5. Answering Paragraph 5 of Plaintiff's Complaint, said Paragraph calls for a legal
conclusion which cannot be either admitted or denied by Defendant. To the extent that said
Paragraph contains factual allegations, Defendant is without sufficient knowledge or information
necessary to form a belief as to the truth of the allegations contained in said Paragraph and
therefore denies the same.

II.
GENERAL ALLEGATIONS

6. Answering Paragraph 6 of Plaintiff's Complaint, Defendant repeats and realleges
its answers to Paragraphs | through 5 as though fully set forth at length herein and incorporate the
same herein by this reference.

7. Answering Paragraph 7 of Plaintiff's Complaint, Defendant is without sufficient
knowledge or information necessary to form a belief as to the truth or falsity of the allegations
contained in said Paragraph and therefore denies the same.

8. Answering Paragraph 8 of Plaintiff's Complaint, Defendant denies each and every,
allegation contained in said Paragraph as it pertains to Defendant AUTOZONE, INC.; Defendant

is without sufficient knowledge or information necessary to form a belief as to the truth or falsity

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of the allegations contained in said Paragraph as they pertain to the remaining Defendants, and
therefore denies the same.

9. Answering Paragraph 9 of Plaintiff's Complaint, Defendant denies each and every
allegation contained in said Paragraph.

10. Answering Paragraph 10 of Plaintiffs Complaint, Defendant denies each and every
allegation contained in said Paragraph.

11. Answering Paragraph 11.a. through 11.0. of Plaintiff's Complaint, Defendant
denies each and every allegation contained in said Paragraph.

12. Answering Paragraph 12 of Plaintiff's Complaint, Defendant denies each and every
allegation contained in said Paragraph as it pertains to Defendant AUTOZONE, INC.; Defendant
is without sufficient knowledge or information necessary to form a belief as to the truth or falsity
of the allegations contained in said Paragraph as they pertain to the remaining Defendants, and
therefore denies the same.

13. Answering Paragraph 13 of Plaintiff's Complaint, Defendant denies each and every
allegation contained in said Paragraph as it pertains to Defendant AUTOZONE, INC.; Defendant
is without sufficient knowledge or information necessary to form a belief as to the truth or falsity
of the allegations contained in said Paragraph as they pertain to the remaining Defendants, and
therefore denies the same.

14. Answering Paragraph 14 of Plaintiff's Complaint, said Paragraph calls for a legal
conclusion which cannot be either admitted or denied by Defendant. To the extent that said|
Paragraph contains factual allegations, Defendant denies each and every allegation contained in
said Paragraph as it pertains to Defendant AUTOZONE, INC.; Defendant is without sufficient

knowledge or information necessary to form a belief as to the truth or falsity of the allegations

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contained in said Paragraph as they pertain to the remaining Defendants, and therefore denies the
same.
15. Answering Paragraph 15.a. through 15.c. of Plaintiff's Complaint, Defendant
denies each and every allegation contained in said Paragraph.
I.

FIRST CLAIM FOR RELIEF
(Negligence — All Defendants)

16. Answering Paragraph 16 of Plaintiff's Complaint, Defendant repeats and realleges
its answers to Paragraphs | through 15 as though fully set forth at length herein and incorporate
the same herein by this reference.

17. Answering Paragraph 17 of Plaintiff's Complaint, Defendant denies each and every
allegation contained in said Paragraph.

18. | Answering Paragraph 18 of Plaintiff s Complaint, Defendant denies each and every
allegation contained in said Paragraph.

19. Answering Paragraph 19.a. through 19.p. of Plaintiff's Complaint, said Paragraph
calls for a legal conclusion which cannot be either admitted or denied by Defendant. To the extent
that said Paragraph contains factual allegations, Defendant denies each and every allegation
contained in said Paragraph as it pertains to Defendant AUTOZONE, INC.; Defendant is without
sufficient knowledge or information necessary to form a belief as to the truth or falsity of the
allegations contained in said Paragraph as they pertain to the remaining Defendants, and therefore
denies the same.

20. Answering Paragraph 18 of Plaintiff's Complaint, Defendant denies each and every
allegation contained in said Paragraph.

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SECOND CLAIM FOR RELIEF
(Gross Negligence — All Defendants)

21. Answering Paragraph 21 of Plaintiff's Complaint, Defendant repeats and realleges
its answers to Paragraphs | through 20 as though fully set forth at length herein and incorporate
the same herein by this reference.

22. Answering Paragraph 22 of Plaintiff's Complaint, said Paragraph calls for a legal
conclusion which cannot be either admitted or denied by Defendant. To the extent that said
Paragraph contains factual allegations, Defendant is without sufficient knowledge or information|
necessary to form a belief as to the truth of the allegations contained in said Paragraph and
therefore denies the same.

23. Answering Paragraph 23 of Plaintiff's Complaint, Defendant denies each and every
allegation contained in said Paragraph.

24. Answering Paragraph 24 of Plaintiff's Complaint, Defendant denies each and every
allegation contained in said Paragraph.

25. | Answering Paragraph 25 of Plaintiff's Complaint, Defendant denies each and every,
allegation contained in said Paragraph.

THIRD CLAIM FOR RELIEF
(Strict Liability — All Defendants)

26. Answering Paragraph 26 of Plaintiff's Complaint, Defendant repeats and realleges
its answers to Paragraphs | through 25 as though fully set forth at length herein and incorporate
the same herein by this reference.

27. Answering Paragraph 27 of Plaintiff's Complaint, Defendant denies each and every
allegation contained in said Paragraph as it pertains to Defendant AUTOZONE, INC.; Defendant

is without sufficient knowledge or information necessary to form a belief as to the truth or falsity,

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of the allegations contained in said Paragraph as they pertain to the remaining Defendants, and|
therefore denies the same.

28. | Answering Paragraph 28 of Plaintiff's Complaint, said Paragraph calls for a legal
conclusion which cannot be either admitted or denied by Defendant. To the extent that said
Paragraph contains factual allegations, Defendant denies each and every allegation contained in
said Paragraph as it pertains to Defendant AUTOZONE, INC.; Defendant is without sufficient
knowledge or information necessary to form a belief as to the truth or falsity of the allegations
contained in said Paragraph as they pertain to the remaining Defendants, and therefore denies the
same.

29. Answering Paragraph 29 of Plaintiff's Complaint, Defendant denies each and every
allegation contained in said Paragraph as it pertains to Defendant AUTOZONE, INC.; Defendant
is without sufficient knowledge or information necessary to form a belief as to the truth or falsity
of the allegations contained in said Paragraph as they pertain to the remaining Defendants, and
therefore denies the same.

30. | Answering Paragraph 30 of Plaintiff's Complaint, Defendant denies each and every
allegation contained in said Paragraph.

31. | Answering Paragraph 31 of Plaintiff's Complaint, Defendant denies each and every
allegation contained in said Paragraph.

FOURTH CLAIM FOR RELIEF
(Breach of Express and/or Implied Warranties — All Defendants)

32. Answering Paragraph 32 of Plaintiff's Complaint, Defendant repeats and realleges
its answers to Paragraphs 1 through 31 as though fully set forth at length herein and incorporate
the same herein by this reference.

33. Answering Paragraph 33 of Plaintiff's Complaint, said Paragraph calls for a legal

conclusion which cannot be either admitted or denied by Defendant. To the extent that said
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Paragraph contains factual allegations, Defendant denies each and every allegation contained in
said Paragraph as it pertains to Defendant AUTOZONE, INC.; Defendant is without sufficient
knowledge or information necessary to form a belief as to the truth or falsity of the allegations
contained in said Paragraph as they pertain to the remaining Defendants, and therefore denies the
same.

34. | Answering Paragraph 34 of Plaintiff's Complaint, said Paragraph calls for a legal
conclusion which cannot be either admitted or denied by Defendant. To the extent that said
Paragraph contains factual allegations, Defendant denies each and every allegation contained in
said Paragraph as it pertains to Defendant AUTOZONE, INC.; Defendant is without sufficient
knowledge or information necessary to form a belief as to the truth or falsity of the allegations
contained in said Paragraph as they pertain to the remaining Defendants, and therefore denies the
same.

35. | Answering Paragraph 35 of Plaintiff's Complaint, Defendant denies each and every
allegation contained in said Paragraph.

FIFTH CLAIM FOR RELIEF
(Res Ipsa Loquitur — All Defendants)

36. | Answering Paragraph 36 of Plaintiff's Complaint, Defendant repeats and realleges
its answers to Paragraphs 1 through 35 as though fully set forth at length herein and incorporate
the same herein by this reference.

37. Answering Paragraph 37 of Plaintiff's Complaint, said Paragraph calls for a legal
conclusion which cannot be either admitted or denied by Defendant. To the extent that said
Paragraph contains factual allegations, Defendant denies each and every allegation contained in
said Paragraph as it pertains to Defendant AUTOZONE, INC.; Defendant is without sufficient

knowledge or information necessary to form a belief as to the truth or falsity of the allegations

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contained in said Paragraph as they pertain to the remaining Defendants, and therefore denies the
same.

38. | Answering Paragraph 38 of Plaintiff's Complaint, said Paragraph calls for a legal
conclusion which cannot be either admitted or denied by Defendant. To the extent that said
Paragraph contains factual allegations, Defendant denies each and every allegation contained in
said Paragraph as it pertains to Defendant AUTOZONE, INC.; Defendant is without sufficient
knowledge or information necessary to form a belief as to the truth or falsity of the allegations
contained in said Paragraph as they pertain to the remaining Defendants, and therefore denies the
same.

39. Answering Paragraph 39 of Plaintiff's Complaint, Defendant denies each and every
allegation contained in said Paragraph.

40. Answering Paragraph 40 of Plaintiff's Complaint, Defendant denies each and every
allegation contained in said Paragraph.

IV.
PRAYER FOR RELIEF

Defendant denies that Plaintiff is entitled to the requested relief.

GENERAL DENIAL

Defendant denies each and every allegation contained in Plaintiff's Complaint that is not
specifically admitted to be true.
AFFIRMATIVE DEFENSES
FIRST AFFIRMATIVE DEFENSE
The Plaintiff's Complaint, and each alleged cause of action thereof, fails to state facts
sufficient to constitute a claim on which relief may be granted against Defendant.
SECOND AFFIRMATIVE DEFENSE

No act or omission of Defendant was a cause in fact or a proximate cause of the injuries
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and damages, if any, sustained by Plaintiffs.
THIRD AFFIRMATIVE DEFENSE
Defendant is informed and believes, and thereon alleges, that all injuries and damages, if
any, sustained or suffered by Plaintiff was directly and proximately caused by third-persons,
including but not limited to Plaintiff, over whom Defendant had no control, and were the result off
superseding, intervening acts and omissions of persons other than Defendant, for which Defendant
is neither responsible nor liable.
FOURTH AFFIRMATIVE DEFENSE
If Plaintiff suffered or sustained any loss, injury, or damage, either as alleged in Plaintiffs
Complaint or at all, Defendant is informed and believes, and thereon alleges, that such loss, injury
or damage was directly and proximately caused by persons or entities other than Defendant. The
liability of all responsible parties, named or unnamed, must be apportioned according to their
relative degrees of fault or causation, and the liability of Defendant, if any, must be reduced of
barred accordingly.
FIFTH AFFIRMATIVE DEFENSE
If Plaintiff was damaged by any product manufactured, distributed and/or sold by
Defendant, Defendant nonetheless did not breach any duty to Plaintiff and is not liable for
Plaintiff's alleged damages because the product, when manufactured, distributed and/or sold
conformed to the then-current state of the art, and because the then-current state of scientific and|
industrial knowledge, art and practice was such that Defendant did not, and could not, know that
the product might pose a risk of harm in its normal and foreseeable use.
SIXTH AFFIRMATIVE DEFENSE
If in fact Defendant’s product was involved in the events which are the subject matter of

this litigation, which Defendant denies, the product was not in a defective condition when it lef

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the possession, custody and control of Defendant, but was fit and proper for the use for which it
was designed and intended.
SEVENTH AFFIRMATIVE DEFENSE

Defendant is informed and believes and thereon alleges that all damages, if any, sustained
by Plaintiff was directly and proximately caused by the misuse, abuse of, improper repair and
maintenance of, and the unreasonable and improper use of Defendant’s product, if in fact
Defendant’s product was involved in the facts or situations set forth in Plaintiffs’ Complaint, which!
Defendant denies. Further, the misuse, abuse, improper repair and maintenance of or failure to
use Defendant’s product properly contributed to the loss or damages alleged in Plaintiff's
Complaint. The damages, if any, recoverable by Plaintiff herein must be diminished in proportion}
to the amount of fault attributable to such misuse, abuse, unreasonable use, or improper use.

EIGHTH AFFIRMATIVE DEFENSE

Plaintiff's claims against Defendant is barred to the extent that Plaintiffs alleged damages
were caused by the natural or ordinary wear and tear of Defendant’s product, if in fact said product
was involved in the subject incident as alleged in the Complaint, which Defendant denies.

NINTH AFFIRMATIVE DEFENSE

Plaintiff is not entitled to any recovery under the Complaint or under any purported cause
of action therein, to the extent that Plaintiff knowingly assumed the risk of the damages allegedly
incurred.

TENTH AFFIRMATIVE DEFENSE

If the products involved in this litigation were products that Defendant designed,

manufactured, distributed and/or sold, Plaintiff's damages, if any, were caused by the negligence

of the Plaintiff, which negligence was equal to or greater than any negligence of Defendant, or of

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any combined negligence of Defendant and any other co-Defendants, which fact is a bar to any
claim against Defendant pursuant to the laws of the State of Nevada.
ELEVENTH AFFIRMATIVE DEFENSE

If any hazardous or dangerous condition existed in the equipment which is the subject
matter of this action and which is alleged to be Defendant’s product as alleged in the Complaint,
at the time of the incident, which Defendant denies, such hazardous or dangerous condition was
obvious as a matter of fact and of law, and Defendant had no duty to warn against such obvious
danger.

TWELFTH AFFIRMATIVE DEFENSE

Defendant alleges that as to each cause of action, Plaintiff failed, refused and neglected to
take reasonable steps to mitigate his alleged damages, if any, thus barring or diminishing Plaintiff s
recovery herein.

THIRTEENTH AFFIRMATIVE DEFENSE

Defendant is informed and believes and thereon alleges that Plaintiff unreasonably delayed
the filing of the Complaint and the notification to Defendant of the alleged defects in the subject
product and the basis for the causes of action alleged against it, all of which have unduly and
severely prejudiced Defendant in their defense of this action, thereby barring or diminishing
Plaintiff's recovery herein under the doctrine of estoppel, waiver and/or laches.

FOURTEENTH AFFIRMATIVE DEFENSE

Plaintiff's claim for punitive damages cannot be sustained because the standard for
determining liability for punitive damages under Nevada law is vague and arbitrary and does nof
define with sufficient clarity the conduct or mental state which gives rise to such claim. Therefore,
any award of punitive damages would violate Defendant’s due-process rights under the United

States and Nevada Constitutions.

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FIFTEENTH AFFIRMATIVE DEFENSE

Even if the product involved in this litigation was a product that Defendant designed,
manufactured, distributed and/or sold, Plaintiff's claim for punitive damages in the Complaint
cannot be sustained. There is no evidence of Defendant being guilty of oppression or fraud, and
Defendant denies that it has in fact been guilty of oppression or fraud. There is also neithey
evidence of, nor an underlying factual basis for, the allegation that Defendant acted with “malice”,
express or implied, which, under Nevada law requires evidence of a deliberate intent to injure.
The law of Nevada, properly interpreted, does not permit recovery of punitive damages for conduct
arising out of only a willful, wanton, reckless or deliberate disregard of the rights of others, of
which conduct, in any event, there is no evidence of Defendant being guilty, and Defendant has
not in fact been guilty of such conduct. This complete lack of proof bars a claim for punitive
damages against Defendant.

SIXTEENTH AFFIRMATIVE DEFENSE

Any claim for punitive damages under any statute or other law—including any reported on
unreported decisions by courts in this State, or any other federal or state court—that would permit
recovery of punitive damages in this action against Defendant would violate Defendant’s rights to
due process and equal protection of the laws under the Fifth, Eighth and Fourteenth Amendments
of the United States Constitution and the same or similar guarantees of the Constitution of the State
of Nevada.

SEVENTEENTH AFFIRMATIVE DEFENSE
Plaintiff's claims are barred by the applicable statute of limitations.
EIGHTEENTH AFFIRMATIVE DEFENSE
Defendant states that if it is found liable for damages, if any, to the Plaintiff, said liability,

is several between and among Defendant and one or more of the other Defendants, and that the

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liability of all responsible parties must be apportioned according to their relative degrees of fault
or causation, and the liability of Defendant, if any, must be reduced or barred accordingly.
NINETEENTH AFFIRMATIVE DEFENSE
Plaintiff's claimed medical expenses are not recoverable because they were not reasonably
necessary and/or are not related to the subject incident.
TWENTIETH AFFIRMATIVE DEFENSE
The injuries claimed by Plaintiff in his Complaint were pre-existing at the time of the
subject incident and, as a result, they are neither the fault nor the responsibility of Defendant.
TWENTY-FIRST AFFIRMATIVE DEFENSE
Defendant is entitled to a set-off for any collateral source benefits paid or payable in favor
of the Plaintiff.
TWENTY-SECOND AFFIRMATIVE DEFENSE
Defendant cannot be liable herein because it did not have either actual or constructive
notice of any defect, deficiency, or dangerous condition in the subject product, as alleged by
Plaintiff in his Complaint.
TWENTY-THIRD AFFIRMATIVE DEFENSE
Defendant was not in privity with Plaintiff and, therefore, Defendant cannot be liable under
any theory of implied warranty.
TWENTY-FOURTH AFFIRMATIVE DEFENSE
In addition to the fact that Defendant owed to Plaintiff no duty to warn about the dangers
of the subject product because such dangers were open and obvious, Defendant owed no such duty
to Plaintiff for the additional reason that sufficient warnings were otherwise provided to Plaintiff]
obviating any potential duty of Defendant to issue its own warnings.

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TWENTY-FIFTH AFFIRMATIVE DEFENSE

In the alternative, Defendant provided proper warnings, information, and instruction for
the subject product in accordance with the state of the scientific knowledge existing at the relevant
time and pursuant to generally recognized and prevailing standards in existence at such time.

TWENTY-SIXTH AFFIRMATIVE DEFENSE

Plaintiff's claims are barred, in whole or in part, by Plaintiffs failure to appropriately

preserve the allegedly defective product at issue.
TWENTY-SEVENTH AFFIRMATIVE DEFENSE

Defendant’s liability in this action, if any, would be strictly vicarious and, therefore,
Defendant is entitled to be indemnified—on grounds of common-law indemnity, equitable
indemnity, express indemnity, and/or contractual indemnity—for any potential liability.

TWENTY-EIGHTH AFFIRMATIVE DEFENSE

Pursuant to FRCP 11, all possible affirmative defenses may not have been alleged herein]
insofar as insufficient facts were not available after reasonable inquiry upon the filing of
Defendant’s Answer, and therefore, Defendant reserves the right to amend this Answer to allege
affirmative defenses if subsequent investigation warrants.

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WHEREFORE, this answering Defendant prays as follows:

L. That Plaintiff takes nothing by reason of the Complaint on file herein;

Dh That AUTOZONE, INC. be hence dismissed with its costs of suit awarded; and
For such other and further relief as the Court deems just and proper.

Dated this 4% day of January, 2022.

ALVERSON TAYLOR & SANDERS

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Attorneys for Defendant,
AUTOZONE, INC.

CERTIFICATE VIA CM/ECF

Pursuant to FRCP 5, I hereby certify that I am an employee of ALVERSON TAYLOR &
SANDERS and that on the fay of January, 2022, | caused to be served via CM/ECI a true
and correct copy of the document described herein.

Document Served: DEFENDANT AUTOZONE, INC.’S ANSWER TO PLAINTIFE’S

Cliff W. Marcek, Esq.

CLIFF W. MARCEK, P.C.

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Attorneys for Plaintiff

TYLER UNDERWOOD

COMPLAINT

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Corporate Headquarters

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B’laster, LLC

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Valley View, OH 44125

CRC Industries, Inc.
Global Corporate Headquarters
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Highland Stores, Inc.
d/b/a Bi-Rite

c/o Resident Agent
Jasbir S. Chahal

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Bi-Rite Markets, Inc.
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Ron Mestre

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7~Eleven, Inc.

c/o Resident Agent

Corporate Creations Network, Inc.
8275 South Eastern Avenue, #200
Las Vegas, NV 89123

Richard A. Haley
5700 Sun Valley Boulevard
Sun Valley, NV 89433

Autozone Stores, LLC

c/o Resident Agent

C T Corporation System

701 S. Carson Street, Suite 200
Carson City, NV 89701

Amrep, Inc.

c/o Resident Agent
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216 Washington Avenue
Marietta, GA 30061

Advance Stores Company, Incorporated
c/o Resident Agent

National Registered Agents, Inc.

701 S. Carson Street, Suite 200

Carson City, NV 89701

Ashland, LLC

Ashland Global Specialty Chemicals, Inc.
Ashland Global Holdings, Inc.

c/o Resident Agent

The Corporation Trust Company
Corporation Trust Center

1209 Orange Street

Wilmington, DE 19801

Calumet Branded Products, LLC
c/o Registered Agent

The Corporation Trust Company
Corporation Trust Center

1209 Orange St.

Wilmington, DE 19801

Sunnyside Corporation

225 Carpenter Avenue
Wheeling, IL 60090

W.M. Barr & Company, Inc.

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ALVERSON TAYLOR & SANDERS

LAWYERS
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2105 Channel Avenue
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